USCA Case #22-1334               Document #2018012            Filed: 09/20/2023   Page 1 of 2
                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________


No. 22-1334                                                     September Term, 2023
                                                                         FERC-ER22-496-002
                                                                         FERC-ER22-496-001
                                                                         FERC-ER22-496-000
                                                       Filed On: September 20, 2023 [2018012]
Entergy Arkansas, LLC, et al.,

                   Petitioners

         v.

Federal Energy Regulatory Commission,

                   Respondent

------------------------------

Cleco Cajun LLC, et al.,
                   Intervenors
------------------------------

Consolidated with 23-1151

                                             ORDER

         Upon consideration of the motions for leave to intervene filed by:

Council of the City of New Orleans, Louisiana, Midcontinent Independent System
Operator, Inc., Cleco Power LLC, Cleco Corporate Holdings LLC, and Cleco Cajun
LLC,

it is ORDERED that the motions be granted.

         Circuit Rules 28(d) and 32(e)(2) govern the filing of briefs by intervenors. A
schedule for the filing of briefs will be established by future order. That order will
automatically provide briefing only for intervenors on the side of respondent. Any
intervenor(s) intending to participate in support of petitioners must so notify the court, in
writing, within 14 days of the date of this order. Such notification must include a
statement of the issues to be raised by the intervenor(s). This notification will allow
tailoring of the briefing schedule to provide time for a brief as intervenor on the side of
petitioners. Failure to submit notification could result in an intervenor being denied leave
to file a brief.
USCA Case #22-1334         Document #2018012             Filed: 09/20/2023       Page 2 of 2


                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________

No. 22-1334                                                September Term, 2023

        Intervenors supporting the same party are reminded that they must file a joint
brief or certify to the court why a separate brief is necessary. Intervenors' attention is
particularly directed to D.C. Circuit Handbook of Practice and Internal Procedures 39
(2021), which describes "unacceptable" grounds for filing separate briefs. Failure to
comply with this order may result in the imposition of sanctions. See D.C. Cir. Rule 39.

                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Lynda M. Flippin
                                                         Deputy Clerk




                                          Page 2
